                                       Case 10-14037-JKO                             Doc 19             Filed 04/16/10                        Page 1 of 34
B1 (Official Form 1) (1/08)
                                            UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA                                                                                       Voluntary Petition
                                                FORT LAUDERDALE DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Olarte, German                                                                                       Olarte, Ana I.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
than one, state all):     xxx-xx-1873                                                                than one, state all):     xxx-xx-9132
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
16018 Fairway Circle Unit 50                                                                         16018 Fairway Circle Unit 50
Weston, FL                                                                                           Weston, FL
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            33326                                                                                               33326
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Broward                                                                                              Broward
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                            ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     ¨       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨ Chapter  15 Petition for Recognition
                                                                                                                                                           of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker
                                                                                                     þ                                                         of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker
                                                                                                             Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         ¨     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                       Chapter 11 Debtors
 þ      Full Filing Fee attached.                                                                    ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     ¨ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
                                                                                                     Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨ Debtor's   aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                        insiders or affiliates) are less than $2,190,000.

        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.               Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.
 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.58.4, ID 1931293101)
                                      Case 10-14037-JKO                        Doc 19            Filed 04/16/10                   Page 2 of 34
B1 (Official Form 1) (1/08)                                                                                                                                                      Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    German Olarte
                                                                                                                  Ana I. Olarte
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Robert Sanchez                                                04/16/2010
                                                                                                 Robert Sanchez                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        þ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.58.4, ID 1931293101)
                                      Case 10-14037-JKO                             Doc 19        Filed 04/16/10                   Page 3 of 34
B1 (Official Form 1) (1/08)                                                                                                                                                        Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     German Olarte
                                                                                                                    Ana I. Olarte
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ German Olarte
      German Olarte
                                                                                             X
       /s/ Ana I. Olarte                                                                         (Signature of Foreign Representative)
 X    Ana I. Olarte

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     04/16/2010
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Robert Sanchez                                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Robert Sanchez                                   Bar No. 0442161                       have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 The Bankruptcy Clinic
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 Law Offices of Robert Sanchez                                                               given the debtor notice of the maximum amount before preparing any document
 900 W 49th Street, Suite 500                                                                for filing for a debtor or accepting any fee from the debtor, as required in that
 Hialeah, FL 33012                                                                           section. Official Form 19 is attached.


          (305) 687-8008
 Phone No.______________________        (305) 512-9701
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     04/16/2010
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                           Case 10-14037-JKO                 Doc 19        Filed 04/16/10           Page 4 of 34
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
In re:   German Olarte                                                                   Case No.
         Ana I. Olarte                                                                                        (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                           Case 10-14037-JKO                Doc 19       Filed 04/16/10          Page 5 of 34
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
In re:   German Olarte                                                                Case No.
         Ana I. Olarte                                                                                     (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ German Olarte
                       German Olarte

Date:       04/16/2010
                           Case 10-14037-JKO                 Doc 19        Filed 04/16/10           Page 6 of 34
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
In re:   German Olarte                                                                   Case No.
         Ana I. Olarte                                                                                        (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                           Case 10-14037-JKO                Doc 19       Filed 04/16/10          Page 7 of 34
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
In re:   German Olarte                                                                Case No.
         Ana I. Olarte                                                                                     (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Ana I. Olarte
                       Ana I. Olarte

Date:       04/16/2010
                             Case 10-14037-JKO                 Doc 19    Filed 04/16/10         Page 8 of 34
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                 FORT LAUDERDALE DIVISION
   In re German Olarte                                                               Case No.
         Ana I. Olarte
                                                                                     Chapter      13



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $135,680.00


 B - Personal Property                           Yes      5                  $25,443.28


 C - Property Claimed                            Yes      3
     as Exempt
 D - Creditors Holding                           Yes      1                                         $362,150.43
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      3                                         $135,643.56
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $4,003.00
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                  $3,645.39
    Individual Debtor(s)

                                             TOTAL        18                $161,123.28             $497,793.99
                              Case 10-14037-JKO                 Doc 19    Filed 04/16/10         Page 9 of 34
Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                FORT LAUDERDALE DIVISION
    In re German Olarte                                                               Case No.
          Ana I. Olarte
                                                                                      Chapter       13



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                   $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $4,003.00

 Average Expenses (from Schedule J, Line 18)                                   $3,645.39

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $7,446.26

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                            $203,020.43

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $135,643.56

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $338,663.99
                           Case 10-14037-JKO      Doc 19      Filed 04/16/10                     Page 10 of 34
B6A (Official Form 6A) (12/07)



In re German Olarte                                                         Case No.
      Ana I. Olarte                                                                                               (if known)



                                          SCHEDULE A - REAL PROPERTY


                                                                                                               Current Value




                                                                                     Husband, Wife, Joint,
                                                                                                                of Debtor's
                   Description and                         Nature of Debtor's




                                                                                       or Community
                                                                                                                 Interest in
                     Location of                          Interest in Property
                                                                                                             Property, Without    Amount Of
                      Property                                                                                                   Secured Claim
                                                                                                              Deducting Any
                                                                                                              Secured Claim
                                                                                                               or Exemption


 Homestead Property:                                Joint Tenancy                       J                        $135,680.00       $334,200.94
 16018 Fairway Circle Unit 50
 Weston, Fl 33326
 Purchased and on title since May 2004
 Legal Description:
 VILLAS AT BONAVENTURE IN
 TR 37 S CONDO UNIT 50
 Property value is based on the Borward
 County Property Appraisers Office




                                                                                 Total:                          $135,680.00
                                                                                 (Report also on Summary of Schedules)
                             Case 10-14037-JKO                  Doc 19      Filed 04/16/10             Page 11 of 34
B6B (Official Form 6B) (12/07)




In re German Olarte                                                                       Case No.
      Ana I. Olarte                                                                                          (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,
                                          None                                                                                            Without Deducting
             Type of Property                                   Description and Location of Property                                        any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption

1. Cash on hand.                                 Cash on hand                                                           -                          $20.00


2. Checking, savings or other finan-             Chase Bank Checking Account ending XX7407                              J                           $9.40
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Bank Atlantic checking account ending XXX1525                          J                         $623.88
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Living room:                                                           J                       $1,200.00
including audio, video and computer              1 sofa, 1 Loveseat, 1 Chair, 1 Recliner, 2 End table
equipment.                                       1 Music stereo, 2 Tvs, 1 VCR and 1 DVD.
                                                 Bed room:
                                                 1 Bed, 1 Matress, 2 Nightstands and 2 Toddler beds.
                                                 Dining room:
                                                 3 Pots and Pans, 8 Plates, 8 Cups, 16 Flatware,
                                                 1 Dining table and 6 Chairs.
                                                 Kitchenware and appliances:
                                                 1 Toaster oven, 1 Coffee maker,
                                                 1 Refrigerator, 1 Stove, and 1 Dishwasher.
                                                 Miscellaneous:
                                                 1 Washer, 1 Dryer, 1 Computer, 1 Printer,
                                                 1 Fax machine 1 Scanner, 1 Desk, 1 Camcorder,
                                                 1 Home Teather and 1 Digital camera.
                                                 Debtors valuation is based on age and condition


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Used clothing and shoes                                                -                          $60.00
                              Case 10-14037-JKO                 Doc 19        Filed 04/16/10            Page 12 of 34
B6B (Official Form 6B) (12/07) -- Cont.




In re German Olarte                                                                         Case No.
      Ana I. Olarte                                                                                           (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                                   Husband, Wife, Joint,
                                                                                                                                           Current Value of
                                                                                                                                           Debtor's Interest




                                                                                                                     or Community
                                                                                                                                              in Property,
                                           None                                                                                            Without Deducting
             Type of Property                                    Description and Location of Property                                        any Secured
                                                                                                                                                Claim or
                                                                                                                                               Exemption

                                                  Debtors valuation is based on age and condition


7. Furs and jewelry.                              Jewelry:                                                               J                          $80.00
                                                  2 Generic brand wrist watches, 3 pairs of earrings, 2
                                                  neckace, 1 Bracelet, 8 rings
                                                  and assorted pieces of custome jewelry.
                                                  Debtors valuation is based on age and condition



8. Firearms and sports, photo-             X
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.
                              Case 10-14037-JKO       Doc 19         Filed 04/16/10           Page 13 of 34
B6B (Official Form 6B) (12/07) -- Cont.




In re German Olarte                                                              Case No.
      Ana I. Olarte                                                                                 (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                         Husband, Wife, Joint,
                                                                                                                                 Current Value of
                                                                                                                                 Debtor's Interest




                                                                                                           or Community
                                                                                                                                    in Property,
                                            None                                                                                 Without Deducting
             Type of Property                          Description and Location of Property                                        any Secured
                                                                                                                                      Claim or
                                                                                                                                     Exemption


14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.
                              Case 10-14037-JKO                 Doc 19        Filed 04/16/10           Page 14 of 34
B6B (Official Form 6B) (12/07) -- Cont.




In re German Olarte                                                                        Case No.
      Ana I. Olarte                                                                                          (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,
                                           None                                                                                           Without Deducting
             Type of Property                                   Description and Location of Property                                        any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption


22. Patents, copyrights, and other         X
intellectual property. Give
particulars.

23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                2008 HondaFit 4D Hatchback Sport                                      J                      $12,000.00
and other vehicles and accessories.               Vin: JHMG38618S061501
                                                  Aproximate Millage:45000
                                                  Lien Holder:
                                                  American Honda Finance Corporation
                                                  P.O.Box 105027
                                                  Atlanta, GA 30348
                                                  Valuation is based on Debtor's Carmax appraisal.

                                                  2006 Honda Odyssey                                                    J                      $11,450.00
                                                  Vin: 5FNRL382X6B054910
                                                  Aproximate Millage:60000
                                                  Lien Holder:
                                                  American Honda Finance Corporation
                                                  P.O.Box 105027
                                                  Atlanta, GA 30348
                                                  Valuation is based on Kelly Blue Book appraisal.



26. Boats, motors, and accessories.        X
                              Case 10-14037-JKO                  Doc 19        Filed 04/16/10            Page 15 of 34
B6B (Official Form 6B) (12/07) -- Cont.




In re German Olarte                                                                           Case No.
      Ana I. Olarte                                                                                                  (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $25,443.28
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                              Case 10-14037-JKO                    Doc 19       Filed 04/16/10            Page 16 of 34
B6C (Official Form 6C) (12/07)



In re German Olarte                                                                            Case No.
      Ana I. Olarte                                                                                                (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:              ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                   $136,875.

 ¨    11 U.S.C. § 522(b)(2)
 þ    11 U.S.C. § 522(b)(3)




                                                                                                                                     Current
                                                                                                                                Value of Property
                                                              Specify Law Providing Each               Value of Claimed
              Description of Property                                                                                           Without Deducting
                                                                       Exemption                          Exemption
                                                                                                                                    Exemption



 Homestead Property:                                     Fla. Const. art. X § 4(a)(1); Fla. Stat.            $135,680.00             $135,680.00
 16018 Fairway Circle Unit 50                            Ann. §§ 222.01, .02
 Weston, Fl 33326
 Purchased and on title since May 2004
 Legal Description:
 VILLAS AT BONAVENTURE IN
 TR 37 S CONDO UNIT 50
 Property value is based on the Borward
 County Property Appraisers Office

 Cash on hand                                            Fla. Const. art. X, § 4(a)(2)                             $20.00                  $20.00

 Chase Bank Checking Account ending XX7407               Fla. Const. art. X, § 4(a)(2)                              $9.40                      $9.40

 Bank Atlantic checking account ending XXX1525           Fla. Const. art. X, § 4(a)(2)                           $623.88                 $623.88

 Living room:                                            Fla. Const. art. X, § 4(a)(2)                         $1,200.00               $1,200.00
 1 sofa, 1 Loveseat, 1 Chair, 1 Recliner, 2 End
 table
 1 Music stereo, 2 Tvs, 1 VCR and 1 DVD.

 Bed room:
 1 Bed, 1 Matress, 2 Nightstands and 2 Toddler
 beds.

 Dining room:
 3 Pots and Pans, 8 Plates, 8 Cups, 16 Flatware,
 1 Dining table and 6 Chairs.

 Kitchenware and appliances:


                                                                                                             $137,533.28             $137,533.28
                              Case 10-14037-JKO        Doc 19         Filed 04/16/10        Page 17 of 34
B6C (Official Form 6C) (12/07) -- Cont.



In re German Olarte                                                              Case No.
      Ana I. Olarte                                                                                (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                    Continuation Sheet No. 1



                                                                                                                     Current
                                                                                                                Value of Property
                                                    Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                             Exemption                     Exemption                Exemption



 1 Toaster oven, 1 Coffee maker,
 1 Refrigerator, 1 Stove, and 1 Dishwasher.

 Miscellaneous:
 1 Washer, 1 Dryer, 1 Computer, 1 Printer,
 1 Fax machine 1 Scanner, 1 Desk, 1
 Camcorder,
 1 Home Teather and 1 Digital camera.

 Debtors valuation is based on age and
 condition

 Used clothing and shoes                        Fla. Const. art. X, § 4(a)(2)                     $60.00                  $60.00
 Debtors valuation is based on age and
 condition

 Jewelry:                                       Fla. Const. art. X, § 4(a)(2)                     $80.00                  $80.00
 2 Generic brand wrist watches, 3 pairs of
 earrings, 2 neckace, 1 Bracelet, 8 rings
 and assorted pieces of custome jewelry.
 Debtors valuation is based on age and
 condition

 2008 HondaFit 4D Hatchback Sport               Fla. Stat. Ann. § 222.25(1)                     $1,000.00             $12,000.00
 Vin: JHMG38618S061501
 Aproximate Millage:45000
 Lien Holder:
 American Honda Finance Corporation
 P.O.Box 105027
 Atlanta, GA 30348
 Valuation is based on Debtor's Carmax
 appraisal.

 2006 Honda Odyssey                             Fla. Stat. Ann. § 222.25(1)                     $1,000.00             $11,450.00
 Vin: 5FNRL382X6B054910
 Aproximate Millage:60000
 Lien Holder:
 American Honda Finance Corporation

                                                                                              $139,673.28            $161,123.28
                              Case 10-14037-JKO      Doc 19         Filed 04/16/10        Page 18 of 34
B6C (Official Form 6C) (12/07) -- Cont.



In re German Olarte                                                            Case No.
      Ana I. Olarte                                                                              (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                  Continuation Sheet No. 2



                                                                                                                   Current
                                                                                                              Value of Property
                                                  Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                           Exemption                     Exemption                Exemption



 P.O.Box 105027
 Atlanta, GA 30348
 Valuation is based on Kelly Blue Book
 appraisal.




                                                                                            $139,673.28            $161,123.28
                           Case 10-14037-JKO                                               Doc 19            Filed 04/16/10            Page 19 of 34
B6D (Official Form 6D) (12/07)
          In re German Olarte                                                                                               Case No.
                 Ana I. Olarte                                                                                                                           (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                       AMOUNT OF         UNSECURED




                                                                                                                                     UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                         CLAIM           PORTION, IF




                                                                                                                                      CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                       DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                         WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                       DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                           VALUE OF
                                                                                             PROPERTY SUBJECT                                       COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    2006
ACCT #: xxxx4180                                                                  NATURE OF LIEN:
                                                                                  Auto Loan
American Honda Finance Corp                                                       COLLATERAL:
                                                                                  2006 Honda VIN.5FNRL382X6B054910 Estimated Mileage                   $11,565.49            $115.49
P.O.BOX 105027                                                J                   REMARKS:
Atlanta, GA 30348



                                                                                  VALUE:                               $11,450.00
                                                                                  DATE INCURRED:    2008
ACCT #: 3970                                                                      NATURE OF LIEN:
                                                                                  Car Loan
American Honda Finance Corp.                                                      COLLATERAL:
                                                                                  2008 Honda Fit Vin No.JHMGD38618S061501EstimateMil                   $16,384.00          $4,384.00
POB 1027                                                      J                   REMARKS:
Alpharetta, GA 30009



                                                                                  VALUE:                               $12,000.00
                                                                                  DATE INCURRED:    2007
ACCT #: 0019103498                                                                NATURE OF LIEN:
                                                                                  2nd Mortgage
Chase                                                                             COLLATERAL:
                                                                                  Homestead Property                                                   $68,989.06        $68,989.06
P.O Box 15922                                                 J                   REMARKS:
Wilmington, DE 19850



                                                                                  VALUE:                              $135,680.00
                                                                                  DATE INCURRED:    2004
ACCT #: 0022572499                                                                NATURE OF LIEN:
                                                                                  1st Mortgage
Chase Home Finance                                                                COLLATERAL:
                                                                                  Homestead Property:                                                $265,211.88        $129,531.88
POB 78420                                                     J                   REMARKS:
Phoenix, AZ 85062



                                                                                  VALUE:                              $135,680.00
                                                                                                            Subtotal (Total of this Page) >            $362,150.43        $203,020.43
                                                                                                           Total (Use only on last page) >             $362,150.43         $203,020.43
________________continuation
       No                    sheets attached                                                                                                        (Report also on   (If applicable,
                                                                                                                                                    Summary of        report also on
                                                                                                                                                    Schedules.)       Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)
                              Case 10-14037-JKO                    Doc 19          Filed 04/16/10             Page 20 of 34
B6E (Official Form 6E) (12/07)

In re German Olarte                                                                               Case No.
      Ana I. Olarte                                                                                                         (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
                           Case 10-14037-JKO                                           Doc 19          Filed 04/16/10     Page 21 of 34
B6F (Official Form 6F) (12/07)
  In re German Olarte                                                                                          Case No.
           Ana I. Olarte                                                                                                     (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                   UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                  CLAIM




                                                                                                                                    CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                     DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: XX1009                                                                        DATE INCURRED:   2008
                                                                                      CONSIDERATION:
Amer Optima                                                                           Unsecured                                                       $2,238.11
P.O. BOX 360002                                                                       REMARKS:
                                                                 J
Ft. Lauderdale, Fl 33336



ACCT #: XX8133                                                                        DATE INCURRED:   1999
                                                                                      CONSIDERATION:
American Express                                                                      Unsecured                                                       $9,126.00
P.O. Box 360002                                                                       REMARKS:
                                                                 J
Ft. Lauderdale, FL 33336-0002



ACCT #: XX2753                                                                        DATE INCURRED:   1999
                                                                                      CONSIDERATION:
American Express                                                                      Unsecured                                                       $1,845.00
P.O. Box 360002                                                                       REMARKS:
                                                                 J
Ft. Lauderdale, FL 33336-0002



ACCT #: XX0013                                                                        DATE INCURRED:   1997
                                                                                      CONSIDERATION:
American Express                                                                      Unsecured                                                       $8,786.00
P.O. Box 360002                                                                       REMARKS:
                                                                 J
Ft. Lauderdale, FL 33336-0002



ACCT #: XX9259                                                                        DATE INCURRED:   2007
                                                                                      CONSIDERATION:
At&t Universal Card                                                                   Unsecured                                                      $10,334.00
POB 44167                                                                             REMARKS:
                                                                 J
Jacksonville, FL 32231



ACCT #: XX1001                                                                        DATE INCURRED:   2007
                                                                                      CONSIDERATION:
Blue from American Express                                                            Unsecured                                                       $9,126.45
PO Box 360002                                                                         REMARKS:
                                                                 J
Ft Lauderdale, FL 33336-0002



                                                                                                                               Subtotal >             $41,455.56

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                             Case 10-14037-JKO                                             Doc 19          Filed 04/16/10     Page 22 of 34
B6F (Official Form 6F) (12/07) - Cont.
  In re German Olarte                                                                                              Case No.
           Ana I. Olarte                                                                                                         (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: XX0013                                                                            DATE INCURRED:   2007
                                                                                          CONSIDERATION:
Blue from American Express                                                                Credit Card Purchases                                           $8,766.00
PO Box 360002                                                                             REMARKS:
                                                                     J
Ft Lauderdale, FL 33336-0002



ACCT #: XX8513                                                                            DATE INCURRED:   2009
                                                                                          CONSIDERATION:
CBCS                                                                                      Unsecured                                                        $613.00
PO BOX 69                                                                                 REMARKS:
                                                                     J
Columbus, OH 43216



ACCT #: XX8874                                                                            DATE INCURRED:   2006
                                                                                          CONSIDERATION:
Chase                                                                                     Unsecured                                                      $12,623.00
P.O Box 78116                                                                             REMARKS:
                                                                     J
Phoenix, AZ 85062



ACCT #: XX8355                                                                            DATE INCURRED:   2008
                                                                                          CONSIDERATION:
Chase                                                                                     Unsecured                                                       $3,644.00
P.O. Box 24714                                                                            REMARKS:
                                                                     J
Columbus, OH 43224



ACCT #: XX7218                                                                            DATE INCURRED:   2007
                                                                                          CONSIDERATION:
Citi Bank                                                                                 Unsecured                                                      $28,734.00
P.O. Box 6241                                                                             REMARKS:
                                                                     J
Sioux Falls, SD 57117



ACCT #: XX9258                                                                            DATE INCURRED:   1998
                                                                                          CONSIDERATION:
Citi Bank                                                                                 Unsecured                                                      $10,334.00
P.O. Box 6017                                                                             REMARKS:
                                                                     J
The Lakes, NV 89163



Sheet no. __________
              1        of __________
                               2     continuation sheets attached to                                                               Subtotal >             $64,714.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                             Case 10-14037-JKO                                             Doc 19          Filed 04/16/10     Page 23 of 34
B6F (Official Form 6F) (12/07) - Cont.
  In re German Olarte                                                                                              Case No.
           Ana I. Olarte                                                                                                         (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: XX7074                                                                            DATE INCURRED:   2006
                                                                                          CONSIDERATION:
Citibank                                                                                  Unsecured                                                      $29,474.00
P.O. Box 769013                                                                           REMARKS:
                                                                     J
San Antonio, TX 78245




Sheet no. __________
              2        of __________
                               2     continuation sheets attached to                                                               Subtotal >             $29,474.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                      $135,643.56
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                             Case 10-14037-JKO               Doc 19       Filed 04/16/10           Page 24 of 34
B6G (Official Form 6G) (12/07)
   In re German Olarte                                                                  Case No.
         Ana I. Olarte                                                                                  (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


þ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                                 Case 10-14037-JKO                Doc 19          Filed 04/16/10            Page 25 of 34
B6I (Official Form 6I) (12/07)
In re German Olarte                                                                              Case No.
      Ana I. Olarte                                                                                                  (if known)



                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s): Son             Age(s): 6 years     Relationship(s):                            Age(s):
          Married
                                                  Son                     4 Years
                                                  Mother                  62 years


 Employment:                      Debtor                                                     Spouse
 Occupation                      CTV Driver                                                 Real Estate Agent
 Name of Employer                Federal Express                                            The Keyes
 How Long Employed
 Address of Employer             2600 SW 39 ST                                              17900 NW 5th St.
                                 Hollywood, Fl 33312                                        Suite # 106
                                                                                            Pembroke Pines, Fl 33029
INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $5,117.75                     $0.00
2. Estimate monthly overtime                                                                                        $0.00                     $0.00
3. SUBTOTAL                                                                                                     $5,117.75                       $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                 $680.51                        $0.00
   b. Social Security Tax                                                                                        $300.04                        $0.00
   c. Medicare                                                                                                     $70.20                       $0.00
   d. Insurance                                                                                                  $308.75                        $0.00
   e. Union dues                                                                                                    $0.00                       $0.00
   f. Retirement                                                                                                    $0.00                       $0.00
   g. Other (Specify)                                                                                               $0.00                       $0.00
   h. Other (Specify)                                                                                               $0.00                       $0.00
   i. Other (Specify)                                                                                               $0.00                       $0.00
   j. Other (Specify)                                                                                               $0.00                       $0.00
   k. Other (Specify)                                                                                               $0.00                       $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                               $1,359.50                       $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $3,758.25                       $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00                      $0.00
8.  Income from real property                                                                                        $0.00                      $0.00
9.  Interest and dividends                                                                                           $0.00                      $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00                      $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00                      $0.00
12. Pension or retirement income                                                                                     $0.00                      $0.00
13. Other monthly income (Specify):
      a. Income tax refund                                                                                        $244.75                       $0.00
      b.                                                                                                            $0.00                       $0.00
      c.                                                                                                            $0.00                       $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                $244.75                       $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $4,003.00                       $0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                $4,003.00
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
                              Case 10-14037-JKO                   Doc 19         Filed 04/16/10            Page 26 of 34
B6J (Official Form 6J) (12/07)
  IN RE: German Olarte                                                                          Case No.
             Ana I. Olarte                                                                                         (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $1,100.39
    a. Are real estate taxes included?        þ Yes      ¨ No
    b. Is property insurance included?        ¨ Yes      þ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $150.00
               b. Water and sewer                                                                                                             $60.00
               c. Telephone                                                                                                                  $100.00
               d. Other:
 3. Home maintenance (repairs and upkeep)                                                                                                    $250.00
 4. Food                                                                                                                                     $600.00
 5. Clothing                                                                                                                                  $60.00
 6. Laundry and dry cleaning                                                                                                                  $45.00
 7. Medical and dental expenses                                                                                                               $35.00
 8. Transportation (not including car payments)                                                                                              $200.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $70.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto                                                                                                                           $150.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto: Car Payment                                                                                                            $475.00
             b. Other: Car Payment                                                                                                           $350.00
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other:
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $3,645.39
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $4,003.00
 b. Average monthly expenses from Line 18 above                                                                                           $3,645.39
 c. Monthly net income (a. minus b.)                                                                                                       $357.61
                               Case 10-14037-JKO                    Doc 19         Filed 04/16/10              Page 27 of 34
B6H (Official Form 6H) (12/07)
In re German Olarte                                                                                Case No.
      Ana I. Olarte                                                                                                        (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                           Case 10-14037-JKO               Doc 19         Filed 04/16/10          Page 28 of 34
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re German Olarte                                                                    Case No.
      Ana I. Olarte                                                                                          (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 20
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 04/16/2010                                              Signature    /s/ German Olarte
                                                                         German Olarte

Date 04/16/2010                                              Signature     /s/ Ana I. Olarte
                                                                          Ana I. Olarte
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                               Case 10-14037-JKO                     Doc 19          Filed 04/16/10             Page 29 of 34
B7 (Official Form 7) (12/07)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   German Olarte                                                                            Case No.
            Ana I. Olarte                                                                                                    (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
                                    Approximate Year to Date Employment Income

                                    2009 Income Tax return

        $51,541.00                  2008 Income Tax Return

        $45,761.00                  2007 Income Tax Return

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 þ     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 ¨     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                              COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING              AND LOCATION                    DISPOSITION
        Plaintiff                                      Foreclosure                       Si es lawsuit: County           Pending
        v.                                             Proceeding or                     Court in and for Miami
        Client                                         Lawsuit                           Dade County, Florida
        Case No.                                                                         Si es foreclosure:
                               Case 10-14037-JKO                    Doc 19          Filed 04/16/10             Page 30 of 34
B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                    FORT LAUDERDALE DIVISION
   In re:   German Olarte                                                                          Case No.
            Ana I. Olarte                                                                                                  (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 1

                                                                                        Circuit Court in and for
                                                                                        Miami Dade County,
                                                                                        Florida

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Robert Sanchez & Associates                                   03/24/2010                       $2,000.00
        900 W 49th St
        Suite 500
        Hialeah, FL 33012

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                               Case 10-14037-JKO                    Doc 19            Filed 04/16/10           Page 31 of 34
B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                    FORT LAUDERDALE DIVISION
   In re:   German Olarte                                                                          Case No.
            Ana I. Olarte                                                                                                  (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
                               Case 10-14037-JKO                     Doc 19         Filed 04/16/10              Page 32 of 34
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   German Olarte                                                                           Case No.
            Ana I. Olarte                                                                                                   (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ
                                Case 10-14037-JKO                     Doc 19          Filed 04/16/10               Page 33 of 34
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   German Olarte                                                                             Case No.
            Ana I. Olarte                                                                                                      (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.
                               Case 10-14037-JKO                      Doc 19          Filed 04/16/10              Page 34 of 34
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                     FORT LAUDERDALE DIVISION
   In re:   German Olarte                                                                             Case No.
            Ana I. Olarte                                                                                                     (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 04/16/2010                                                         Signature          /s/ German Olarte
                                                                        of Debtor          German Olarte

Date 04/16/2010                                                         Signature       /s/ Ana I. Olarte
                                                                        of Joint Debtor Ana I. Olarte
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
